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 1   SUBT
     BENJAMIN C. DURHAM, ESQ.
 2   Nevada Bar No. 7684
 3   BENJAMIN DURHAM LAW FIRM
     601 South Tenth Street
 4   Las Vegas, Nevada 89101
     P: (702) 631-6111
 5   F: (702) 946-1396
     Attorney for Defendant
 6
 7                               UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEVADA
8
     UNITED STATES OF AMERICA,
 9
                         Plaintiff,                        Case no. 2:15-cr-18
10
                   vs.
11
     MARK JONES,
12
                         Defendant.
13
14                                    SUBSTITUTION OF ATTORNEY

15           COMES NOW the Defendant, MARK JONES, and hereby substitutes BENJAMIN C.

16   DURHAM, ESQ., of BENJAMIN DURHAM LAW FIRM, as Defendant’s attorney of record in the

17   above-entitled action, in place and stead of the Public Defender, on this 10 day of March,

18   2015.

19                                             By:              /s/ Mark Jones
                                                     MARK JONES
20
             BENJAMIN C. DURHAM, ESQ., of BENJAMIN DURHAM LAW FIRM, hereby accepts and
21
     consents to the above and foregoing substitution as attorney of record for Defendant MARK
22
     JONES in the above-entitled action, in place and stead of the Public Defender, on this 10 day
23
     of March, 2015.
24
                                                     BENJAMIN DURHAM LAW FIRM
25
                                               By:          /s/ Benjamin Durham
26
                                                     BENJAMIN C. DURHAM, ESQ.
27                                                   Nevada Bar No. 7684
28

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 1         The Public Defender hereby consents to the above and foregoing substitution of
 2   BENJAMIN C. DURHAM, ESQ., of BENJAMIN DURHAM LAW FIRM, as attorney of record for
 3   Defendant MARK JONES in the above-entitled matter.
 4         DATED this 19 day of March, 2015.
 5                                                   FEDERAL PUBLIC DEFENDER

 6
 7
                                               By:           /s/ Shari Kaufman
8
                                                     Shari Kaufman, Esq.
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                                          March 23, 2015
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 1                                   CERTIFICATE OF SERVICE
 2         I certify that all parties to this action are registered members of the District Court’s
 3   efiling system, and that service was accomplished via filing this pleading with the efiling
 4   system on the 20th day of March, 2015.
 5                                                   BENJAMIN DURHAM LAW FIRM
 6
                                               By:          /s/ Benjamin Durham
 7
                                                     BENJAMIN C. DURHAM, ESQ.
8                                                    Nevada Bar No. 7684
                                                     Attorney for Defendant
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